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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

JOHN ANTHONY CASTRO                           :      CASE NO. 3:18-CV-00081-WHR
                                                     Judge Walter H. Rice
        Plaintiff,                            :

v.                                            :      MOTION OF DEFENDANTS TO
                                                     VACATE AND RESCHEDULE THE
THEODORE GUDORF, et al.                       :      PRELIMINARY TELEPHONE
                                                     PRETRIAL CONFERENCE
                                              :
        Defendants
                                              :

        This action was initially filed in the Northern District of Texas and transferred to this

Court, but subsequent to that transfer no attorney qualified to practice before this Court per Local

Rule 83.3 has appeared in this action on behalf of Plaintiff nor has the undersigned been

contacted by any such attorney. Accordingly, Defendants have been unable to undertake either

the mandatory disclosures required by Fed. R. Civ. P. 26(a)(1) or the pre-preliminary pretrial

conference between counsel required by Fed. R. Civ. P. 26(f).              Therefore, Defendants

respectfully request that the preliminary telephone conference currently scheduled for next

Tuesday, June 19, 2018 be vacated and rescheduled once Plaintiffs obtain appropriate

representation so that the requirements of Rule 26 can be fulfilled prior to the conference.

                                                     Respectfully Submitted:

                                                     /s/ JARED A. WAGNER
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                                                     Jared A. Wagner (0076674)
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                                                     Counsel for Defendants
   Case: 3:18-cv-00081-WHR Doc #: 11 Filed: 06/12/18 Page: 2 of 2 PAGEID #: 60



                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served upon
counsel for plaintiff, Joshua S. Milam, Castro & Co., LLC, 13155 Noel Road, Suite 900, Dallas,
TX 75240 through the Court’s electronic filing system on this the 12th day of June 2018.



                                                  /s/ JARED A. WAGNER
                                                  Jared A. Wagner (0076674)




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